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                               UN ITED STA TES D ISTR IC T CO UR T
                               SO UTH ERN DISTW C T O F FLO RID A
                                 Case Num ber:19-cr-20450-SCO LA

   U NITED STATES O F A M ER IC A,

                         Plaintiff,


   ALEX NA IN SA AB M O R AN ,

                         Defendant.
                                                  /

                                      O RD ER O F DISM ISSA L

          PursuanttoRule48(a)oftheFederalRulesofCriminalProcedureandbyleaveofCourt
   endorsed hereon,the United States hereby dismisseswithoutprejudice,Counts 2 through 8
   contained in the lndictm ent against defendant AI,EX NM N SA AR M O R AN, and only this

   defendant,based on assurancesm adeto the Republic ofCabo V erde during the extradition process

   ofdefendantALEX N AIN SA AB M O R AN from the Republic ofCabo V qrde.


                                                 Respectfully subm itted,
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   J AN ANTON X NZALEZ
   V                                             J EPH S.BEEM STERBOER,A CTING CHIEF
   UN ITED STA TES ATTORN EY                     CRIM IN AL DIV ISION ,FRAUD SECTION
   SOUTH ERN DISTRICT OF FLORIDA                 U .S.DEPARTM ENT OF JUSTICE

   cc:    CounselofRecord

   Leave ofCourtisG RAN TED forthe Gling oftheforegoing Dism issalofCounts2 through 8
   againstdefendantAI,EX NA IN SA AB M OR AN in the above-captioned crim inalcase.


               November 1, 2021
                                                      ROBERT N .SCO LA,Jr.
                                                      UN ITED STATES DISTRICT JUD GE
